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06
                                UNITED STATES DISTRICT COURT
07                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
08
     UNITED STATES OF AMERICA,            )
09                                        )
           Plaintiff,                     )
10                                        )              Case No. CR08-308-JLR
           v.                             )
11                                        )
     BALTAZAR DAVILA-CERVANTES,           )              DETENTION ORDER
12                                        )
           Defendant.                     )
13   ____________________________________ )

14 Offense charged:

15                    Conspiracy to Distribute Methamphetamine and Cocaine, in violation of 21
                      U.S.C. §§ 841 (a)(1), 841 (b)(1)(A), and 846
16
     Date of Detention Hearing:      February 25, 2009
17
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
19
     the following:
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            (1)       Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant
22
     is a flight risk and a danger to the community based on the nature of the pending charges.
23
     Application of the presumption is appropriate in this case.
24
            (2)       Defendant is a citizen of Mexico and an immigration detainer has been placed on
25
     defendant by the United States Immigration and Customs Enforcement.
26

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01          (3)     Defendant was not interviewed by Pretrial Services and no background

02 information is known.

03          (4)     There are no conditions or combination of conditions other than detention that

04 will reasonably assure the appearance of defendant as required or ensure the safety of the

05 community.

06          IT IS THEREFORE ORDERED:

07          (1)     Defendant shall be detained pending trial and committed to the custody of the

08 Attorney General for confinement in a correctional facility separate, to the extent practicable,

09 from persons awaiting or serving sentences or being held in custody pending appeal;

10          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

11 counsel;

12          (3)     On order of a court of the United States or on request of an attorney for the

13 government, the person in charge of the corrections facility in which defendant is confined shall

14 deliver the defendant to a United States Marshal for the purpose of an appearance in connection

15 with a court proceeding; and

16          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

17 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

18 Officer.

19                  DATED this 25th day of February, 2009.

20

21
                                                           A
                                                           JAMES P. DONOHUE
                                                           United States Magistrate Judge
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     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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